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                                   UNITED STATES DISTRICT COURT
                                                                                                                  II
                                              District of Oregon
                                                                                  FILED13 DEC •t316:16LISDC-tRP
                                               Portland Branch                                                    II
                                                                                                                   I
Dawn Lind
                                                                )         3 ,13 - cv - 2 ~ 0 0
Plaintiff                                                        )        Case No~·                               I
                                                                                                                  !
                                                                                                                  i
v.                                                               )      COMPLAINT                                 i

                                                                 )                                                l
FIDELITY NATIONAL TITLE INSURANCE COMPANY )
AND DEUTSCHE BANK NATIONAL TRUST COMPANY,)
AS TRUSTEE FOR AMERICAN HOME MORTGAGE      )
ASSETS TRUST 2006-6, MORTGAGE-BACKED PASS- )
THROUGH CERTIFICATES SERIES 2006-6.        )
                                            )
Defendants                                 )



     1. At all times hereinafter mentioned, Plaintiff is and still is a resident of the State of Oregon, City

of Portland in the County of Washington.

     2. Defendant FIDELITY NATIONAL TTLE INSURANCE COMPANY is a foreign business

corporation registered to do business in Oregon. Defendant DEUTSCHE BANK NATIONAL TRUST

COMPANY AS TRUSTEE FOR AMERICAN HOME MORTGAGE ASSETS TRUST 2006-6,

MORTGAGE-BACKED PASSTHROUGH CERTIFICATES SERIES 2006-06 is also a foreign

corporation registered to do business in Oregon.

     3. The jurisdiction of this Court is invoked by the money damages being greater than $75,000.


Comes now Dawn Lind the Plaintiff sues DEUTSCHE BANK NATIONAL TRUST COMPANY, AS

TRUSTEE FOR AMERICAN HOME MORTGAGE ASSETS TRUST 2006-6, MORTGAGE-BACKED

PASS-THROUGH CERTIFICATES SERIES 2006-6 AND FIDELITY NATIONAL TITLE

INSURANCE COMPANY for the surplus of the trustee's sale of the following described real property:
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                                                                                                              1
                                                                                                              I
LOT 5, BLOCK 11, RIDGEVIEW HEIGHTS NO.4, IN THE CITY OF BEAVERTON, COUNTY OF

WASHINGTON AND STATE OF OREGON. Commonly known as 11770 SW Ridgeview Terrace,

Beaverton, OR 97008. On December 17, 2010 in full accordance with the laws of the state of Oregon and

pursuant of the powers conferred upon him by said trust deed, Defendant FIDELITY NATIONAL TITLE

INSURANCE COMPANY sold said real property in one parcel at a public auction to the highest bidder

which was Defendant DEUTSCHE BANK NATIONAL TRUST COMPANY AS TRUSTEE FOR

AMERICAN HOME MORTGAGE ASSETS TRUST 2006-6, MORTGAGE-BACKED PASS-

THROUGH CERTIFICATES SERIES 2006-6. The true and actual consideration paid for this transfer is

the sum of$2,590,000. See Exhibit A.

                                          BACKGROUND

Dawn Lind, Plaintiff, purchased said property on January 30,2006. Due to unforeseen circumstances the

subject property went into foreclosure in 2010 and was sold at auction through a non-judicial process on

December 17,2010.

The OTDA's (Oregon Trust Deed Act) notice and recording provisions, e.g., Or. Rev. Stat.§§ 86.737-

86.750, protect borrowers from the unauthorized dispossession of property by requiring creditors to

provide the borrower and other interested parties with notice of the pending foreclosure. Or. Rev. Stat.§

86.73 5( 1) requires the creditor to establish its right to foreclose by recording documents evidencing the

chain oftitle in county property records. See In re McCoy, 446 B.R. 453,458 (Bankr. D. Or. 2011)

("Oregon law permits foreclosure without the benefit of a judicial proceeding only when the interest of

the beneficiary is clearly documented in a public record.").

At the time of the trustee's sale, Plaintiff was the Grantor of the real property. See Exhibit B.

Defendant DEUTSCHE NATIONAL BANK AS TRUSTEE was not included in the chain oftitle or any

other place in public record either as a creditor or a beneficiary. DEUTSCHE NATIONAL BANK AS

TRUSTEE had no authority/right to act as beneficiary. ORS 86.790 (e3) At any time after the trust deed is

executed, the beneficiary may appoint in writing another qualified trustee but it must be recorded in the

county in which the DEED OF TRUST is recorded. Non-judicial foreclosure oftrust deeds by
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advertisement and sale is statutory with strict rules. ORS 86.725 to 86.795. Failure to comply strictly with

the statutory process is fatal to a non-judicial foreclosure action. Baggao v Mascaro, 77 OR. App. 627

(1986), Staffordshire Investments, Inc. v Cal-Western, 209 Or. App. 528 (2006). ORS 86.755(1)

provides that the trustee "may sell the property at auction to the highest bidder for cash" and that the

beneficiary may bid. The trustee in this case is Defendant, FIDELITY NATIONAL TITLE INSURANCE

COMPANY. "The purchaser shall pay at the time of sale the price bid, and the trustee shall execute and

deliver the trustee's deed to the purchaser." ORS 86. 755(3). It is well settled that the trustee in a deed of

trust owes duties both to the mortgagor and the holder of the debt. Hence he must act with strict

impartiality. Kratovil and Werner, Modem Mortgage Law and Practice 45, § 3.03(c)(l) (2d Ed.1981).

FIDELITY NATIONAL TITLE INSURANCE COMPANY was under an obligation as trustee to perform

statutory duties in his conduct of the sale and application of its proceeds, see Nelson and Whitman, Real

Estate Finance Law 549, § 7.21 (2d Ed.l985). Regardless of a mistake in the amount of its bid, Defendant

DEUTSCHE BANK NATIONAL TRUST COMPANY is bound by it. If Defendant, DEUTSCHE

BANK NATIONAL TRUST COMPANY intended to bid more than the amount ofthe secured debt, it

must account for the excess, and under ORS 86.765(3,4) plaintiff would be entitled to claim that excess

The effect of the sale is to "foreclose and terminate all interest in the property covered by the trust deed of

all persons to whom notice is given ORS 86. 770( 1). Distribution of the sale proceeds is governed by

ORS 86.765. See Bank of Myrtle Point v. Security Bank of Coos County 67 OR app. 512. The trustee

shall apply the proceeds of the trustee's sale as follows:

    1. To the expenses of the sale, including the compensation of the trustee, and a reasonable charge
       by the attorney.
    2. To the obligation secured by the trust deed.
    3. To all persons having recorded liens subsequent to the interest of the trustee in the trust deed as
       their interest may appear in the order of their priority.
    4. The surplus, if any to the grantor of the trust deed or to the successor in interest of the grantor
       entitled to such surplus.

Since the Plaintiff was the Grantor of the trust deed at the time of the sale she stands to recover the

surplus.
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                                         JURISDICTION

This action is properly before this court because the Defendants are foreign business corporations with

addresses as follows and the monetary damages are greater than $75,000.

FIDELITY NATIONAL TITLE INSURANCE has a corporate address of 1110 North Post Oak Road

Suite 120 Houston, TX 77055.

DEUTSCHE NATIONAL BANK TRUST COMPANY has a corporate address of 4875 Belfort Road,

Suite 130 Jacksonville, FL 32256.




                                         CLAIM FOR RELIEF

Pursuant to the DEED OF TRUST, plaintiff is entitled to reasonable fees incurred herein.

Plaintiff claims entitlement to payment under ORS 86.765(4). At the time of the default the balance

owing was $300,000. The purchase price as indicated by Exhibit A was $2,590,000. The true and actual

consideration owing Plaintiff is $2,290,000 less the cost of the trustee's sale which would require

verification from the Defendants.

WHEREFORE, Plaintiff pray that the Court adjudge/order the following:

    1. The surplus of the Trustee's Sale go to the Grantor of the Trust Deed which at the time was the

Plaintiff. Actual consideration is $2,350,000 less the appropriate fees for such sale.

    2. Plaintiff is entitled to judgment for Plaintiff's Court costs, expenditures, reasonable attorney's

fees and prevailing party fee as provided by law.

    3. Any other relief the court deems equable and just.




Dawn Lind Pro Se                                              Dawn Lind
December 13, 2013                                              12860 SW Havencrest St.
                                                              Portland, Or 97225
                                                             ( 503 )753-6135 2ownyourlife@gmail.com
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.. \

            After recording return to:


            Until a change is requested all tax statements
            Shall be sent to the following address:
            Deutsche Bank National Trust Company, as Trustee for American Home
            Mortgage Assets Trust 2006-6, Mortgage-Backed Pass-Through
            Certificates Series 2006-6
            487S Belfort Road, Suite 130
            Jacksonville, FL 322S6



            _ _ _ _ _ _ _ _ _ _ _ _ _ _(Recorder's Use)_ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                          TRUSTEE'S DEED
            T.S. No.: 10-09931-6.
            Loan No.: 0031360506

            THIS INDENTURE, Made December 17,2010, between FIDELITY NATIONAL TITLE INSURANCE
            COMPANY
            Hereinafter called trustee, and Deutsche Bank National Trust Company, as Trustee for American Home Mortgage
            Assets Trust 2006-6, Mortgage-Backed Pass-Through Certificates Series 2006-6

            hereinafter called the second party:
                                                               WITNESSETH:

            RECITALS: DAWN LIND, As grantor, executed and delivered to FIDELITY NATIONAL TITLE COMPANY OF
            OREGON, for the benefit of MORTGAGE ELECTRONIC REGISTRATION SYSTEMS, INC, as beneficiary, a
            certain trust deed dated September 12, 2006, duly recorded on September 18, 2006,2006-111282, in the mortgage
            records of Washington County, Oregon.

            In said trust deed the real property therein and hereinafter described was conveyed by said grantor to said trustee to
            secure, among other things, the performance of certain obligations of the grantor to the said beneficiary. The said
            grantor thereafter defaulted in his performance of the obligations secured by said trust deed as stated in the notice of
            defiluh hereinafter mentioned and such defauh still existed at the time of the sale hereinafter described.

                     By reason of said default, the owner and holder of the obligations secured by said trust deed, being the
            beneficiary therein named, or his successor in interest, declared all sums so secured immediately due and owing; a
            notice of default, containing an election to sell the said real property and to foreclose said trust deed by
            advertisement and sale to satisfy grantor's said obligations was recorded in the mortgage records of said county on
            August 11,2010 and referenced as 2010o-061678.to which reference now is made.

                      After the recording of said notice of default, as aforesaid, FIDELITY NATIONAL TITLE INSURANCE
            COMPANY the undersigned trustee gave notice of the time for and place of sale of said real property as fixed by
            him and as required by law: copies ofthe Trustee's Notice of Sale were served pursuant to ORCP 70(2) and 7D.(3)
            or mailed by both first class and certified mail with return receipt requested, to the last-known address ofthe persons
            or their legal representatives, if any, named in ORS 86.740(1) and (2Xa), at least 120 days before the date the
            property was sold, and the Trustee's Notice of Sale was mailed by first class and certified mail with return receipt
            requested,




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                                                     TRUSTEE'S DEED

      T.S. No.: I 0-09931-6 .
      Loan No.: 0031360506


      to the last-known address of the guardian, conservator or administrator or executor of any person named in ORS
      86.740(1), promptly after the trustee received knowledge of the disability, insanity or death of any such person: the
      Notice of Sale was served upon occupants of the property described in the trust deed in the manner in which a
      summons is served pursuant to ORCP 70.(2) and 70.(3) at least 120 days before the date the property was sold,
      pursuant to ORS 86.750(l).ln addition, pursuant to HB 3630, the additional notice was sent or served in accordance
      with Sections 20 and 21, Chapter 19, Oregon Laws 2008. If the foreclosure proceedings were stayed and released
      from the stay, copies of an Amended Notice of Sale in the form required by ORS 86.755(6) were mailed by
      registered or certified mail to the last- known address of those persons listed in ORS 86.740 and 86.750(1) and to the
      address provided by each person who was present at the time and place act for the sale which was stayed within 30
      days after the release from the stay. Further, the trustee published a copy of said notice of sale in a newspaper of
      general circulation in each county in which the said real property is situated, once a week for four successive weeks;
      the last publication of said notice occurred more than twenty days prior to the date of such sale. The mailing,
      service and publication of said notice of sale are shown by one or more affidavits or proofs of service duly recorded
      prior to the date of sale in the official records of said county, said affidavits and proofs. Together with the said notice
      of default and election to sell and the trustee· s notice of sale, being now referred to and incorporated in and made a
      part of this trustee· s deed as fully as if act out herein verbatim. The undersigned trustee has no actual notice of any
      person, other than the persons named in said affidavits and proofs as having or claiming a lien on-or interest in said
      described real property, entitled to notice pursuant to ORS86.740(l)(b) or (I)(c).

               Pursuant to said notice of sale, the undersigned trustee on December 17,1010, at the hour ofli:OO AM. of
      said day, in accord with the standard of time established by ORS 187.110, the place so fixed for sale, as aforesaid, in
      full accordance with the laws of the state of Oregon and pursuant to the powers conferred upon him by said trust
      deed, sold said real property in one parcel at public auction to the said second party for the sum of$2,590,000.00, he
      being the highest and best bidder at such sale and said sum being the highest and best sum bid for said property.
      The true and actual consideration paid for this transfer is sum of $2,390,000.00.

               NOW THEREFORE, in consideration of the said sum so paid by the second party in cash, the receipt
      whereof is acknowledged, and by the authority vested in said trustee by the laws of the state of Oregon and by said
      trust deed, the trustee does hereby convey unto the second party all interest which the grantor had or had the power
      to convey at the time of the grantor's execution of said trust deed, together with any interest the said grantor or his
      successors in interest acquired after the execution of said deed in and to the following described real property, to-
      wit:

            LOT 5, BLOCK 11, RIDGEVIEW HEIGHTS NO.4, IN THE CITY OF BEAVERTON, COUNTY
      OF WASHINGTON AND STATE OF OREGON.


                In constructing this instrument and whenever the context so requires, the masculine gender includes the
      feminine and the neuter and the singular includes the plural; the word "grantor'' includes any successor-in-interest to
      the grantor as well as each and all other persons owing an obligation, the performance of which is secured by said
      trust deed; the word "trustee" includes any successor trustee, the word "beneficiary" includes any successor-in-
      interest of the beneficiary first named above, and the word "person" includes corporation and any other legal or
      commercial entity.
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                                                     TRUSTEE'S DEED
      T.S. No.: 10-09931-6
      Loan No.: 0031360506


      IN WITNESS WHEREOF, the undersigned trustee has herewtto set his hand; if the undersigned is a corporation, it
      has caused its corporate name to be signed and its corporate seal to be affixed hereunto by its officers duly
      authorized thereunto by order of its Board of Directors.

      THIS INSTRUMENT WILL NOT ALLOW USE OF THE PROPERTY DESCRIBED IN THIS INSTRUMENT IN
      VIOLATION OF APPLICABLE LAND USE LAWS AND REGULATIONS. BEFORE SIGNING OR
      ACCEPTING THIS INSTRUMENT, THE PERSON ACQUIRING FEE TITLE TO THE PROPERTY SHOULD
      CHECK WITH THE APPROPRIATE CITIES OR COUNTIES PLANNING DEPARTMENT TO VERIFY
      APPROVED USES.

      December 17,2010




      MARCY AXELROD, Authorized Signature

      State of California                           }ss.
      County of Orange                     }ss

      On December 17,2010 before me, Shena Marie La Rue, a Notary Public in and for said county, personally
      appeared MARCY AXELROD, who proved to me on the basis of satisfactory evidence to be the person(s) whose
      name(s) is/are subscribed to the within instrument and acknowledged to me that he/she/they executed the same in
      his/her/their authorized capacity(ies), and that by his/her/their signature(s) on the instrument the person(s), or the
      entity upon behalf of which the person(s) acted, executed the instrument

      I certifY under PENALTY OF PERJURY under the Jaws of the State of California that the foregoing paragraph is
      true and correct.

                                  ICiaJ seal.                                      SHENA MARIE LA RUE

                                                                  ~
                                                                  1@
                                                                  J.
                                                                                  Commission# 1807664
                                                                                  Notary Public • California
                                                                                       Orange County
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                                                                                                                (Seal)
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       RECORDING REQUESTED BY                                                       1ua •~~ 111.ot 111uo. Ttllll• aoua
       FIDELITY NATIONAL TITLE COMPANY OF OREGON

       GRANTOR'S NAME
       Marcia L McCreight
                                                                                                                         IIIII
       GRANTEE'S NAME
       Dawn Lind

       SEND TAX STATEMENTS To:
       Dawn Lind
       12860 SW Havencrest Street
        Portland, OR 97225

       AFTER RECORDING RETURN TO:
       Dawn Lind
       12860 SW Havencrest
       Portland, OR 97225




                                             STATUTORY WARRANTY DEED

      Marcia L. McCreight,, Grantor. conveys and warrants to         DAWN UlND
      , Grantee, the foRowing described real property, free and clear of encumbrances except as specifically set forth below,
      situated in the County of Washington, State of Oregon,

      Lot 5, Block 11, Ridgeview Heights No. 4, in the City of Beaverton, County of Washington and State of Oregon.

c
(.)



~
....J Subject to and excepting: Covenants, conditions and restrictions of record.

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;     THIS INSTRUMENT WILL NOT ALLOW USE OF THE PROPERTY DESCRIBED IN THIS INSTRUMENT IN VIOLATION OF
      APPLICABLE LAND USE LAWS AND REGULATIONS. BEFORE SIGNING OR ACCEPTING THIS INSTRUMENT THE
      PERSON ACQUIRING FEE TITLE TO THE PROPERTY SHOULD CHECK WITH THE APPROPRIATE CITY OR COUNTY
      PLANNING DEPARTMENT TO VERIFY APPROVED USES AND TO DETERMINE ANY LIMITS ON LAWSUITS AGAINST
      FARMING OR FOREST PRACTICES AS DEFINED IN ORS 30.930.

             THE TRUE AND ACTUAL CONSIDERATION FOR THIS CONVEYANCE IS $184,000.00 (See ORS 93.0301




      DATED: January 30, 2006




      STATE OF OREGON
      COUNTYOF~M~u~lt~no~m~aahL------------------

      This instrument was acknowledged before me on




      NOTA




      FORD-313 !Rev 2/96)                           STATUTORY WARRANTY DEED
